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                                    IN THE UNITED STATES DISTRICT COURT

                                        FOR THE DISTRICT OF OREGON



     MARK WILSON,                                             Case No. 6:21-cv-01606-SI

                       Plaintiff,                             DECLARATION OF SHANNON VINCENT
                                                              IN SUPPORT OF DEFENDANTS' MOTION
                                                              TO EXTEND TIME (FIRST)
              v.

     JERRY PLANTE, RONNIE FOSS, CRAIG
     PRINS, JOSH HIGHBERGER, MELISSA
     NOFZIGER, COLLETTE PETERS, MARIA
     D. GARCIA, and JOHN DOES 1-10,

                       Defendants.

     I, Shannon Vincent, hereby declare:

              1.       I am an attorney licensed to practice law in the State of Oregon and am a Senior

     Assistant Attorney General for the State of Oregon.

              2.       I am one of the attorneys assigned to represent the defendants in the above-

     captioned case and have personal knowledge of the matters set forth herein.


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              3.       On July 7, 2022, the Court entered an order denying defendants’ partial motion to

     dismiss plaintiff’s Second Amended Complaint. According to defendants’ calculations, under

     FRCP 15(a)(3), their answer to plaintiff’s Second Amended Complaint is currently due July 21,

     2022.

              4.       Over the course of the last two weeks, I was assigned to a state habeas matter that

     required immediate work due to a pending show cause order. Due to my other intervening time-

     intensive, time-sensitive work, I have not had sufficient time to prepare defendants’ answer to all

     of the allegations in plaintiff’s Second Amended Complaint.
              5.       Accordingly, defendants are requesting a one-week extension of time—through

     July 28, 2022—within which to file their answer.

              6.       This request is made in good faith and not for the purposes of delay.

              I declare under penalty of perjury that the foregoing is true and correct.

              EXECUTED on July 21, 2022.


                                                               s/ Shannon M. Vincent
                                                            SHANNON M. VINCENT
                                                            Senior Assistant Attorney General




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